                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION

                          No. 5:13-CT-3068-FL

KEITH V. HARNED,

           Plaintiff,

     v.                                       DECLARATION OF
                                              SARA REVELL
THE UNITED STATE OF AMERICA,
WARDEN SARA REVELL,
A.W. R. CAMPOS, A.W. A. HISCOCKS,
DR. T. ANSARI, DR. J. LINZAU,

           Defendants.

     I, SARA REVELL, do hereby declare as follows:

     1.    I am currently employed by the United States Department of

Justice,   Federal Bureau of Prisons,      as the Assistant Director,

Program Review Division.      I have been in my current position since

August 2012.     From 2009 through August 2012, I was the Complex Warden

at the Federal Correctional Complex in Butner, North Carolina ("FCC

Butner"), and also the Warden at the Federal Medical Center in Butner, ,

North Carolina ("FMC Butner") .

     2.    I   understand that the plaintiff,      federal   inmate Keith

Harned, 87249-020, alleges that he spoke with me regarding an injury

he sustained during a softball game at FMC Butner.

     3.    I do not recall Mr. Harned, nor do I recall the incident

he alleges.



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                                                   Exhibit Page
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                                                                1 of 3 Decl.
     4.   In my roles as Complex Warden, and Warden of FMC Butner,

I, along with my executive staff members,        routinely stood in the

institution's dining hall during the lunch meal (also referred to

as "mainline") , and responded to various questions posed by inmates.

During these times, inmates would approach myself and members of my

executive staff with a wide variety of questions concerning housing

issues, medical concerns, and various complaints and concerns.          With

regard to complaints or concerns about an inmate's medical condition

or treatment, I instructed the inmates to report their concern to

their primary care team, and to address their concerns with their

medical providers.

     5.   I am not a medical professional, and in my roles as Complex

Warden and Warden of FMC Butner, I was not personally involved in

any decisions regarding the medical care provided to a particular

inmate, nor was I involved in any treatment decisions.          At no time

did I have any involvement in Mr. Harned's medical care.

     6.   Additionally, during my time at FCC Butner, I never sat as

a member of the institution's Utilization Review Committee, as this

committee is made up solely of medical professionals.         As a Warden,

I did not have the authority to submit or refer an inmate for any

medical procedures, as this referral or consultation request must

come from the inmate's primary medical providers.

     7.   On April 17, 2012, in my role as Warden of FMC Butner, I


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signed the Response to Mr.          Harned's Request for Administrative

Remedy, Number 683524-F1, regarding his request for surgery on his

nose   and    compensation   for    an       injury     which   occurred   during   a

recreational activity at FMC Butner.

       8.    Pursuant to 28 U.S.C.       §       1746, I declare under penalty of

perjury that the foregoing is true and correct.

       Executed this   ~ay         of March, 2015.




                                         ant Director
                              r~u.,ral     Bureau of Prisons




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